        Case 4:18-cv-00259-BSM Document 57 Filed 08/19/19 Page 1 of 18




                   IN THE UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF ARKANSAS
                             EASTERN DIVISION

JOHNNY BANKS                                                                PLAINTIFF

V.                             CASE NO. 4:18CV00259BSM

SHELBY HAWKINS, individually and in his official
capacity; CITY OF SHANNON HILLS                                        DEFENDANTS


                  Plaintiff’s Brief in Response to Defendants’
                        Motion for Summary Judgment

                    Preliminary Statement and Summary of Facts

      On February 13, 2017 at approximately 9:50 p.m., defendant (Hawkins)

responded to a dispatch regarding a possible domestic violence call at plaintiff’s

(Banks) home in Shannon Hills, Arkansas. When Hawkins arrived, he observed a

house, driveway at the back of the house and two vehicles. The emergency lights on

one vehicle, a truck, were flashing. Hawkins walked around three sides of the

house for several minutes after which he went to the front entry. He knocked on the

door and said “police”. No one answered his knock. Hawkins then walked around

the house again several times. He heard noises from within which he discerned to

be a woman saying: “no, no, no”, see Plaintiff‘s Exhibit 1 – Hawkins Deposition

(PX1)(Exhibit D, p. 46:10-13; p. 41:11-18; p. 47: 6-8; 53:9-16, possibly a “muffled

noise,” (Exhibit D, p. 46: 14-23) or a blocked noise. (Exhibit D, p. 47:1-12)

       Hawkins did not decipher any other words which he attributed to anyone



                                            1
        Case 4:18-cv-00259-BSM Document 57 Filed 08/19/19 Page 2 of 18



while he was outside the residence. Nor did he perceive a physical altercation

within the house. (Exhibit D, p.117:16-18) Upon Hawkins perceiving silence from

within the residence, after having previously heard the “muffled” no’s from within,

while within an unlit 3-foot narrow corridor entry, he began kicking the door to

plaintiff’s residence. When the door opened, Banks did not touch or strike Hawkins.

(Exhibit D, p. 93: 16-23; p.98:4-19) Hawkins shot Banks! Hawkins now defends his

action by stating that he was hit on the head by some unidentified object. He does

not assert that without the intervention of the unidentified source which struck

him, (Exhibit D, p. 87) his behavior toward Banks would have differed. (Exhibit D,

p. 99:20-23, p. 108:17-18) Plaintiff claims that Hawkins used excessive force upon

entering plaintiff’s residence when Hawkins shot Banks. (Exhibit D, p. 70:5-23, 71,

72:2-7; p. 81:6-25; and p. 83:11-18; p. 84:22-25, p. 89:17-25; p. 90:1, p. 121: 4-11; p.

122: 22-24)

                    Standard for Motion for Summary Judgment

      Summary Judgment is appropriate when, viewing the record in the light

most favorable to the nonmoving party, there are no genuine issues of material fact

and the moving party is entitled to judgment as a matter of law. Wells Fargo Home

Mortg., Inc. v. Lindquist, 592 F.3d 838, 842 (8th Cir. 2010) (quoting Hennin v

Mainstreet Bank, 538 F.3d 975, 978 (8th Cir. 2008)). In ruling on a motion for

summary judgment, courts are required to draw all reasonable inferences in favor of

the non-moving party, and they are not to weigh the evidence or make credibility




                                            2
        Case 4:18-cv-00259-BSM Document 57 Filed 08/19/19 Page 3 of 18



determinations. Bell v Kansas City Police Dep’t., 635 F 3d. 346, 347 (8th Circ. 2011)

(citing Nyari v. Napolitano, 562 F.3d 916, 922 (8th Cir, 2009)).

      A party seeking summary judgment bears the initial burden of informing the

court of the basis for its motion and identifying those portions of the record it

believes demonstrate the absence of a genuine issue of material fact. Celotex Corp.

v. Catrett, 477 U.S. 317, 323 (1986). To satisfy this burden, the movant must either

submit evidentiary documents that negate the existence of some material element

of the non-moving party’s claims or defense or, if the issue is one for which the non-

moving party’s claims or defense or, if the issue is one for which the non-moving

party has the burden of proof at trial, merely point out that the evidentiary

documents contain sufficient proof concerning an essential element of the moving

party’s claims. Catrett, 477 U.S. at 325.

      The party opposing the motion must present affirmative evidence in order to

defeat a properly supported motion for summary judgment. Anderson v. Liberty

Lobby, Inc. 477 U.S. 242, 257 (1986). That party may not rest upon the mere

allegations or denials of his pleadings, but in his response, by affidavits or

otherwise, must set forth specific facts showing that there is a genuine issue for

trial; if he does not respond, summary judgment, if appropriate, shall be entered

against him. Fed. R. Civ. P. 56 ( e )(3).

      The mere existence of some alleged factual dispute between the parties will

not defeat an otherwise properly supported motion for summary judgment; the

requirement is that there be no genuine issue of material fact. Anderson v. Liberty



                                            3
        Case 4:18-cv-00259-BSM Document 57 Filed 08/19/19 Page 4 of 18



Lobby, Inc. 477 U.S. 242, 247-248 (1986). The dispute about a material fact is

genuine if the evidence is such that a reasonable jury could return a verdict for the

non-moving party. Anderson, 477 U.S. at 247-248. All the evidence and inferences

drawn from the evidence must be viewed in the light most favorable to the party

opposing the motion for summary judgment, and the court is not authorized to

weigh the evidence or make credibility determinations. Anderson, 477 U.S. at 249;

Matsushita Elec. Indus. Co. v. Zenith Radio Corp., 475 U.S. 574, 587 (1986).

   1. Officer Hawkins used excessive force when he shot Mr. Banks because
      Mr. Banks had not committed a crime, he was not suspected of having
      committed a crime, he did not pose an immediate threat to anyone,
      and he did not resist or evade Officer Hawkins.

      In assessing Mr. Banks’s excessive force claim, this Court has to determine

whether Officer Hawkins’s actions were objectively reasonable in light of the facts

and circumstances he faced when he encountered Mr. Banks. Graham v. Connor,

490 U.S. 386, 397 (1989) (citing Scott v. United States, 436 U.S. 128, 137-139 (1978);

Terry v. Ohio, 391 U.S. 1, 21 (1960)). That inquiry requires careful attention to the

facts and circumstances of Officer Hawkins’s encounter with Mr. Banks, including

whether Mr. Banks had committed a crime or was suspected of having committed

one, whether Mr. Banks posed an immediate threat to the safety of Officer Hawkins

or to others, and whether Mr. Banks actively resisted or attempted to evade Officer

Hawkins. Graham v. Connor, 490 U.S. 386, 396 (1989) (citing Tennessee v. Garner,

471 U.S. 1, 8-9 (1985)).

      If this Court views the facts of this case in the light most favorable to Officer

Hawkins, it should conclude that a jury could find that Officer Hawkins’s shooting
                                           4
        Case 4:18-cv-00259-BSM Document 57 Filed 08/19/19 Page 5 of 18



of Mr. Banks was objectively unreasonable, and an analysis of the framework the

Supreme Court of the United States established in Graham v. Connor proves as

much. 490 U.S. 386, 396 (1989) (citing Garner, 471 U.S. at 8-9).

   When Officer Hawkins arrived at the Banks’ home, he did not immediately

knock on the door to see for himself if a domestic disturbance was ongoing or

whether any other of kind of emergency existed; instead, he walked around the

exterior of the Banks’ home for five to eight minutes, and during this time period,

he did not observe anything that one could objectively describe as evidence of

criminal activity or domestic violence. (Exhibit D, at 51-52, 54-56, 58, 62-68, 79-80,

85).

       At the end of that five to eight-minute period of time, he knocked on the

Banks’ door and announced himself, but no one answered. ( Exhibit D, at 62-63, 67).

And when he knocked on the door, he did not hear a sound emanate from the

interior of the Banks’ home, which further demonstrates that nothing was

happening in the Banks’ home that can be objectively described as evidence of

criminal activity or domestic violence. (Exhibit D, at 68, 78, 79-80, 85, 117:9-25). At

this juncture, Officer Hawkins should have left the Banks’ home because he had no

lawful reason to continue to be there, for whatever emergency he may have had

reason to think existed when he received the 911 dispatch operator’s call ceased to

exist by the time he arrived at the Banks’ home. Neal v. Ficcadenti, 895 F.3d 576,

581 (8th Cir. 2018) (an officer who responds to an emergency is not permitted to

ignore changing circumstances and information that emerges once he arrives on the



                                           5
        Case 4:18-cv-00259-BSM Document 57 Filed 08/19/19 Page 6 of 18



scene) (citing Ngo v. Storlie, 495 F.3d 597, 603 (8th Cir. 2007) (‘‘[E]ven though

Storlie was responding to a severe crime—a fellow officer had been shot—a

reasonable officer arriving at the scene would have recognized that Ngo did not pose

an immediate threat to the officers’ safety or the safety of others.’’)).

   Officer Hawkins claims that the 911 call, the manner in which Mr. Banks’s

parked his vehicle, the flashing emergency lights on Mr. Banks’s vehicle, and his

hearing a muffled “no, no, no” sound evidenced a “life or death” situation. His own

actions, however, demonstrate the speciousness of this claim. Had Officer Hawkins

encountered a genuine “life or death” situation when he arrived at the Banks’ home,

he would not have spent five to eight minutes milling around the exterior of their

home; after all, it was obvious when he arrived that nothing was going on outside

that remotely resembled criminal activity or domestic violence, yet outside is where

he remained for five to eight minutes before knocking on the door. (Exhibit D, at

68, 78, 79-80, 85, 117). And when he did knock on the door, he did not hear a sound

from anyone or anything in the Banks’ home. (Exhibit at 68, 78, 79-80, 85, 117).

      Rather than leave as he should have, Officer Hawkins searched the exterior

of their home a second time, and this time for two additional minutes, which

brought the total amount of time that he spent outside of the Banks’ home to ten

minutes. (Dep. of Shelby Hawkins, at 64, 68). And at no point during this ten-

minute time period did he see any evidence of a crime or of domestic violence.

(Exhibit D, at 68, 78, 78-80, 85, 117).




                                            6
        Case 4:18-cv-00259-BSM Document 57 Filed 08/19/19 Page 7 of 18



      At the end of this ten- minute time period, however, he did hear a muffled

“no, no, no” sound coming from inside the Banks’ home. (Exhibit D, at 68). If one

gives Officer Hawkins the benefit of the doubt and assumes that a muffled “no, no,

no” could be interpreted as a distress call, that still does not make it objectively

reasonable for Officer Hawkins to have shot Mr. Banks because when Officer

Hawkins shot Mr. Banks, Mr. Banks had not committed a crime, he was not

suspected of having committed a crime, and Officer Hawkins did not observe him

commit a crime. (Exhibit D, at 85, 117; Exhibit E, at 54).

      Moreover, Mr. Banks did not threaten Officer Hawkins or anybody else, nor

did he attempt to resist or evade Officer Hawkins. (Exhibit B, at 40-42, 45-47;

Exhibit D, at 40-41). All Mr. Banks did was answer the door and immediately upon

doing so, Officer Hawkins shot him. (Exhibit A, at 30-31, 39; Exhibit B at 26, 40-42).

Officer Hawkins will also claim that he shot Mr. Banks because Mr. Banks hit him

in the head; in fact, he told Mrs. Banks that he shot her husband because he “bum

rushed” him. (Exhibit B, at 31-32, 45-47, 50). Mr. Banks did no such thing. (Exhibit

B, at 31-32, 45-47, 50).

      Officer Hawkins took five or six steps into the Banks’ home before he shot

Mr. Banks. (Exhibit D, at 92-93: 1-8). He says something struck him in the head,

but he did not see anyone strike him, nor did he see Mr. Banks lay a hand on him.

(Exhibit D, at 93:18-19, 98:1-8). Mr. Banks never touched Officer Hawkins. (Exhibit

B, at 31-32, 45-47, 49-50; Exhibit D, at 93, 95, 96, 98, 100, 103, 108-111, 123). Mr.

Banks was unarmed when he opened the door, and he was unarmed when Officer



                                            7
        Case 4:18-cv-00259-BSM Document 57 Filed 08/19/19 Page 8 of 18



Hawkins shot him. (Exhibit D, at 96:2-12). Officer Hawkins does not know how he

was struck in the head or what struck him in the head, yet he intentionally shot Mr.

Banks, nevertheless. (Exhibit D, at 93, 99:3-23, 108:6-9,109).

       From the time Officer Hawkins entered the Banks’ residence until the

moment he shot Mr. Banks, Mr. Banks was in front of Officer Hawkins. (Exhibit D,

at 100, 103). Whatever hit Officer Hawkins could not have come from Mr. Banks

because Mr. Banks was forty-two inches in front of Officer Hawkins, and Officer

Hawkins never saw Mr. Banks hit him or attempt to hit him. (Exhibit D, at 100,

103:8-13, 123, 128). At bottom, there is no evidence in the record of this case that

Mr. Banks hit Officer Hawkins in the head or caused him to be hit in the head.

(Exhibit D, at 93, 98, 99, 100, 103, 108-109, 110-111, 123, 128).

       It is undisputed that when Officer Hawkins shot Mr. Banks, Mr. Banks had

not committed a crime, he had not been suspected of committing a crime, he did not

pose an immediate threat of death or serious injury to Officer Hawkins or to anyone

else, and he did not attempt to resist or evade Officer Hawkins. (Exhibit D, at 85,

117; Exhibit E, at 54). Therefore, it was objectively unreasonable for Officer

Hawkins to shoot Mr. Banks. Ellison v. Lesher, 796 F.3d 910, 916-917 (8th Cir.

2015) (it has been clearly established since at least December 2010 that a person

who does not pose an immediate threat to an officer or to others has a federal right

not to be shot by the officer).

   2. On February 17, 2017, the law was clearly established that a police
      officer responding to what he thinks is an emergency cannot
      automatically shoot a person who does not pose an immediate threat


                                           8
        Case 4:18-cv-00259-BSM Document 57 Filed 08/19/19 Page 9 of 18



       to the officer or to others, therefore, Officer Hawkins is not entitled to
       qualified immunity.

       In order for Officer Hawkins to be liable for shooting Mr. Banks, however,

Mr. Banks must demonstrate that on February 17, 2017, the law was clearly

established that a police officer responding to what he thinks is an emergency

cannot automatically shoot a person who does not pose an immediate threat to the

officer or to others. White v. Pauly, 137 S. Ct. 548, 551 (2017) (per curiam) (citing

Mullenix v. Luna, 136 S. Ct. 305, 308 (2015) (per curiam)). He will now demonstrate

just that.

       Defendants primary reliance is upon Carswell v. Borough of Homestead 381

F. 3d 235, 243 (3rd Cir. 2004) for its proposition that Hawkins faced a situation

which required a split-second decision. Carswell is distinguishable on the facts

alone. In Carswell, a) there were two or more officers present; b) the officers made

four responses to his residence before the shooting; and c) the officers identified him

and chased him. Carswell ran toward the officers in a threatening manner and

disregarded the officers’ instructions to stop.

       Here, a) Hawkins did not await a second officer’s arrival before his kicks were

made; b) Hawkins waited ten minutes outside the residence and identified no one

outside the residence. Hawkins made only one visit to the residence; and c) Banks

made no adversarial movement, threatening or otherwise toward Hawkins before

Hawkins kicked Banks’ door, other than to open it.




                                            9
       Case 4:18-cv-00259-BSM Document 57 Filed 08/19/19 Page 10 of 18



      Further, defendants advance the facts in Loch v City of Litchfield, 689 F. 3d

961 (8th Cir. 2012) for the “mistaken perception theory” of Carswell. The facts there

are also distinguishable.

      Loch a) had a pistol which he threatened to use; b) Loch’s brother-in-law

responded to the officer on scene that Loch had a weapon; c) the officer laid eyes on

Loch and gave Loch instructions to stop and get on the ground; and d) when Loch

accidently slipped and fell, the officer shot him because he reasonably thought Loch

had a weapon.

      Here, a) there was no identification of an assailant to the officer, b) there was

no weapon nor report of a weapon; c) Hawkins had no belief that Banks had a

weapon; and d) there was no prior instruction from Hawkins for Banks to do

anything or to take any action before Hawkins shot Banks. In contrast, the officer in

Loch waited 20-30 seconds while Loch was in his sight before he fired.

      Without citation of authority, defendants also argue that Hawkins “choice of

shooting Banks was at most a reasonable mistake.” Def. Brief at p. 11. Hawkins’

statement that he intended to shoot Banks takes his action out of the mistake

category. (Dep. of Shelby Hawkins, at 93,99, 108:5-18, 109).

                   a. There is no evidence that anyone or anything
                      associated with Banks’ conduct caused
                      Hawkins to be disoriented before Hawkins
                      shot Banks

      Hawkins shot Banks as he was kicking, and Banks was opening the door to

Banks’ residence. Hawkins testified that this action was deliberate. Hawkins has

attempted to explain his action as a) due to his being blinded upon the opening of

                                          10
       Case 4:18-cv-00259-BSM Document 57 Filed 08/19/19 Page 11 of 18



the door’ b) due to his having been struck by an identified and the evidence

reasonably points to, object which left gun prints on his forehead; c) possibly due to

having seen plaintiff’s arm raised when the door opened; and d) due to being

disoriented. Defense counsel now argues that Hawkins shooting Banks was due to

mistake. That perspective is disputed by the admissible material facts of both

parties.

      A reasonable jury could find that Hawkins was in the dark, narrow entry way

to Banks house, when he kicked the door and that when the door opened, Hawkins

could see into Banks lighted room rather than be blinded by the light; and that

Banks could not see into the dark enclosed area from which Hawkins fired. It could

also find a) that there is no item other than Hawkins’ own gun which struck

Hawkins and that it occurred after Hawkins fired his weapon at Banks; c) that

Banks stood inside the house while Hawkins was on the steps and thus that Banks’

hands were necessarily higher than or above Hawkins when Hawkins shot Banks;

and d) that Hawkins’ possible disorientation was due to Hawkins weapon having

discharged. Thus, Hawkins’ “disorientation” occurred after he fired his shot. Any

fear he had prior to shooting Banks is not reasonable because the shot and injury to

Banks occurred within a second or two. This fact makes Hawkins excuse or mistake

theory different from both Loch, supra, and Carswell, supra which they cite (Def.

Brief pp. 11-13). This fact also addresses Hawkins’ “fear” that he did not want to

“grapple” with Banks after he shot him. (Def. Brief p.17) Grappling could not have




                                          11
       Case 4:18-cv-00259-BSM Document 57 Filed 08/19/19 Page 12 of 18



been an issue because Banks fell backward rather than forward and went down 6 to

8 feet within his residence immediately upon being shot.

      3. The City of Shannon Hills is liable for the damages Officer
         Hawkins caused Mr. Banks because had the SHPD done an
         inadequate background check, it would have never hired him
         in the first place.

      Municipalities are “persons” within the meaning of 42 U.S.C. § 1983, but they

cannot be held liable under § 1983 solely because they employ a tortfeasor. Bd. of

the Cty. Comm’rs of Bryan Cty. v. Brown, 520 U.S. 397, 403 (1997) (citing Monell v.

Dep’t of Soc. Servs. of the City of New York, 436 U.S. 658, 689 (1978)). A plaintiff

seeking to impose liability on a municipality under § 1983 has to identify a

municipal policy or custom that caused his injury. Brown, 520 U.S. at 403 (citing

City of Canton v. Harris, 489 U.S. 378, 389 (1989); Pembaur v. City of Cincinnati,

479 U.S. 469, 480-481 (1986); Monell v. Dep’t of Soc. Servs. of the City of New York,

436 U.S. 658, 689 (1978)).

      A single decision can constitute an official policy if the person who makes the

decision has final policy making authority, or if the person’s acts or edicts may

fairly be said to represent official policy, and a municipality cannot assert immunity

or a good faith defense under § 1983 based on the good faith of its officers. Pembaur

v. City of Cincinnati, 475 U.S. 469, 480 (1986) (citing Monell v. Dep’t of Soc. Servs. of

the City of New York, 436 U.S. 658, 694 (1978)); Owen v. City of Independence, 445

U.S. 622,650 (1980). In this case, Chief Spears is the final decision maker for the

SHPD, therefore, his acts represent the official policy of Shannon Hills, Arkansas.




                                           12
        Case 4:18-cv-00259-BSM Document 57 Filed 08/19/19 Page 13 of 18



(Dep. of Allen Spears, at 4); Pembaur, 475 U.S. at 480 (citing Monell, 436 U.S. at

694).

        A plaintiff seeking to establish municipal liability on the theory that a

facially lawful municipal action led an employee to violate the plaintiff’s federal

rights must demonstrate that the municipal action was taken with deliberate

indifference as to its known or obvious consequences. Bd. of the Cty. Comm’rs of

Bryan Cty. v. Brown, 520 U.S. 397, 407 (1997) (citing City of Canton v. Harris, 489

U.S. 378, 388 (1989)). In this case, Chief Spears’s decision to hire Officer Hawkins

was facially lawful, however, he made it with deliberate indifference as to the

known or obvious consequence that Officer Hawkins was bound to violate the

constitutional rights of persons with whom he came into contact.

        Chief Spears recruited Officer Hawkins to work for the SHPD, but his only

knowledge of Officer Hawkins’s work background was that he knew he worked for

the Alexander, Arkansas fire department while he [Chief Spears] worked for the

Alexander, Arkansas police department. (Exhibit E, at 19-21). Chief Spears knows

that when an opening occurs in the SHPD he is supposed to make that opening

known to the general public, however, he did not do so for the job Officer Hawkins

ultimately accepted. (Dep. of Allen Spears, at 20). This is a textbook case of

cronyism. Chief Spears could not have cared less whether Officer Hawkins could or

would competently perform the duties of a police officer; he simply gave his buddy a

job with no concern for the consequences that would obviously befall the citizenry

subject to his buddy’s incompetence.



                                            13
       Case 4:18-cv-00259-BSM Document 57 Filed 08/19/19 Page 14 of 18



       Evidence of just how insouciant Chief Spears was is apparent when one

examines what he failed to do after hiring Officer Hawkins. (Exhibit E, at 21-22).

Since the SHPD hired Officer Hawkins, Chief Spears has not looked at any of his

personnel records, nor has he examined any of Officer Hawkins’s records to

determine if he has completed the required online domestic violence training that

SHPD officers have to complete. (Exhibit E, at 21-22). Chief Spears did not provide,

and has not provided, any training of any kind to Officer Hawkins. (Exhibit E, at

17).

       Mr. Banks filed a citizen complaint with the SHPD regarding Officer

Hawkins’s shooting him, but Chief Spears did not do anything with it, instead, he

“…forwarded it to… counsel.” (Exhibit E, at 28-29). Chief Spears did not give Mr.

Banks any notice or acknowledgement that the SHPD received his complaint.

(Exhibit E, at 28-29). Chief Spears asserts that he conducted an internal

investigation of Officer Hawkins shooting Mr. Banks, but his investigation consisted

solely of him and his assistant chief of police speaking with Officer Hawkins.

(Exhibit E, at 30). He did not write a report, and he did not take any notes, yet he

concluded that Officer Hawkins did not violate any SHPD policies. (Exhibit E, at 30,

39). Chief Spears does not know the dates he conducted his oral investigation, he

did not investigate the scene of the shooting, he cannot recall the questions he

asked Officer Hawkins, he cannot recall the questions his assistant chief of police

asked Officer Hawkins, and he cannot recall Officer Hawkins’s answers to any

questions posed to him. (Exhibit E, at 33).



                                          14
          Case 4:18-cv-00259-BSM Document 57 Filed 08/19/19 Page 15 of 18



      Officer Hawkins did not tell Chief Spears that he attempted to kick the

Banks’ door in, nor did Chief Spears ask him if he did. (Exhibit E, at 42). Officer

Hawkins told Chief Spears that he was struck in the head by an object, but he could

not describe what that object was, and Chief Spears never figured out what, if

anything, hit Officer Hawkins in the head, and he never attempted to figure out

what, if anything, hit Officer Hawkins in the head. (Exhibit E, at 46-47, 55-56).

      Chief Spears’s oral investigation did not include an interview with Ms.

Kelley, Mr. Banks, Mrs. Banks, or the surgeon neighbor who attempted to

administer first aid to Mr. Banks. (Dep. of Allen Spears, at 38). Two officers came to

the scene after Officer Hawkins shot Mr. Banks, but Chief Spear’s oral investigation

also did not include an interview with either of these two officers, and Chief Spears

did not share the results of his oral investigation with a single person; not even the

SHPD’s lawyer, the mayor of Shannon Hills, or the Arkansas State Police (“ASP”),

which investigated Officer Hawkins’s shooting of Mr. Banks. (Exhibit E, at 34-36,

48-49).

      At bottom, Chief Spears hired his crony and left him to his own devices when

it came time to police the citizenry. Chief Spears’s callous indifference to the federal

rights of Mr. Banks was the moving force behind Officer Hawkins’s illegal use of

force on Mr. Banks on February 17, 2017, therefore, the City of Shannon Hills,

Arkansas is liable for that indifference. Monell v. Dep’t of Soc. Servs. of the City of

New York, 436 U.S. 658, 694-695 (1978).




                                           15
        Case 4:18-cv-00259-BSM Document 57 Filed 08/19/19 Page 16 of 18




   4. The City of Shannon Hills is liable for the damages Officer Hawkins
      caused Mr. Banks because the SHPD failed to adequately train Officer
      Hawkins.

        A plaintiff who seeks to establish municipal liability on the theory that an

inadequate training program led an employee to violate a plaintiff’s rights must

demonstrate that the municipal action was not simply negligent but was taken with

deliberate indifference as to its known or obvious consequences. City of Canton v.

Harris, 489 U.S. 378, 388 (1989). Harris held that if, in light of the duties assigned

to specific officers or employees, the need for more or different training is so

obvious, and the inadequacy so likely to result in a violation of a person’s federal

rights, that the policymakers of the city can reasonably be said to have been

deliberately indifferent to the need, the failure to provide proper training may fairly

be said to represent a policy for which the city is responsible, and for which the city

may be held liable if it actually causes injury. 489 U.S. 378, 390 (1989).

        An example of when a municipality’s training program would be so

inadequate that it would trigger municipal liability is a police department hiring

police officers who they know may have to use deadly force and then failing to train

those officers on the proper use of deadly force. City of Canton v. Harris, 489 U.S.

378, 390 n.10 (1989). The functional equivalent of that example happened in this

case.

        The SHPD does not train its officers on how to deal with domestic violence

calls, instead, its officers obtain training from classes offered on the Internet, and


                                           16
       Case 4:18-cv-00259-BSM Document 57 Filed 08/19/19 Page 17 of 18



Chief Spears has never confirmed that Officer Hawkins has completed the internet

course. (Exhibit E, at 8-10, 21-22, 59-60). Once an officer completes a training

session, he or she is required to obtain a certificate of completion, and Chief Spears

has never confirmed that Officer Hawkins has obtained a certificate of completion.

(Exhibit E, at 8-10, 21-22). When the SHPD hires an officer, the only training the

department offers is a directive that the officer read the SHPD handbook and

complete a form indicating that he or she has done so, and Chief Spears has not

confirmed that Officer Hawkins reach the SHPD handbook or completed a form

indicating that he has. (Exhibit E, at 15-16, 21-22).

      The SHPD did not provide Officer Hawkins with any training on how to

conduct a forcible entry into a residence, nor did it train him on the meaning of

reasonable suspicion or probable cause or the distinction between the two phrases.

(Exhibit E, at 105, 115-117). In fact, Officer Hawkins does not know the difference

between reasonable suspicion and probable cause. (Exhibit D, at 118). The SHPD

leaves it up to its officers to decide whether to equip themselves with a taser when

they go on patrol, and though it trains its officers to use the least amount of force

that is necessary to gain control of a situation, it does not insist that officers equip

themselves with a taser when they go on patrol. (Exhibit E, at 57). Chief Spears

admits that if an officer is not equipped with a taser, he or she is not prepared to

use the least amount of force that is necessary to gain control of a situation. (Dep. of

Allen Spears, at 57).




                                            17
       Case 4:18-cv-00259-BSM Document 57 Filed 08/19/19 Page 18 of 18



      The SHPD’s training program is worse than inadequate; it is virtually non-

existent, and its virtual non-existence was the proximate cause of Officer Hawkins’s

shooting Mr. Banks. In light of the duties assigned to SHPD officers, the need for

more or different training was so obvious, and the inadequacy was so likely to result

in a violation of Mr. Banks’s federal rights, that the policymakers of the city can

reasonably be said to have been deliberately indifferent to the need, therefore, the

failure to provide proper training represents a policy for which the city is

responsible and for which the city should be held liable. City of Canton v. Harris,

489 U.S. 378, 390 (1989).

                                Conclusion

      Upon the foregoing disputation of defendants’ proposed findings of material

undisputed facts, brief and legal arguments, the plaintiff respectfully submits that

the defendants’ motion for summary judgment should be denied.

                                 Respectfully submitted,

                                 /s/ John W. Walker – AB64046
                                 JOHN W. WALKER, PA
                                 1723 Broadway Street
                                 Little Rock, Arkansas 72206
                                 501-374-3758
                                 Facsimile: 501-374-4187
                                 Email: johnwalkeratty@aol.com




                                          18
